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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


D.V.D.; M.M.; E.F.D.; and O.C.G.,

             Plaintiffs,                                  Civil Action No. 25-cv-10676-BEM

                 v.

U.S. DEPARTMENT OF HOMELAND SECURITY;
Kristi NOEM, Secretary, U.S. Department of
Homeland Security, in her official capacity; Pamela
BONDI, U.S. Attorney General, in her official
capacity; and Antone MONIZ, Superintendent,
Plymouth County Correctional Facility, in his official
capacity,

             Defendants.



   INDEX OF EXHIBITS IN SUPPORT OF PLAINTIFFS’ BRIEF IN SUPPORT OF
          JOINDER OF THE DEPARTMENT OF DEFENSE (DKT. 93)
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Exhibit    Description
  A        Memorandum of Understanding Between the U.S. Dep’t of Homeland Sec.
           & the U.S. Dep’t of Def. for DoD Support at Naval Station Guantanamo
           Bay to U.S. Immigr. & Customs Enf’t for DHS/ICE Detention of Illegal
           Aliens Subject to Final Orders of Removal (Mar. 7, 2025)
  B        Declaration of Johnny Sinodis

  C        Declaration of Tin Thanh Nguyen

  D        Declaration of Kristin Macleod-Ball




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